                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                   )
                                           )
v.                                         )        NO. 3:11-00194
                                           )        JUDGE CAMPBELL
MONIQUE SMITH                              )


                                           ORDER


       Pending before the Court is Monique Smith’s Renewed Motion to Dismiss (Docket No.

573) filed by Defendant pro se. Defendant Smith is represented by attorney Deanna Bell

Johnson. The above referenced pro se Motion is DENIED without prejudice to filing by counsel.

       IT IS SO ORDERED.



                                                    __________________________________
                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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